                                 OPINION
On May 8, 1980, appellee, Michael Boswell, pleaded guilty to rape, a felony of the first degree, in violation of R.C. 2907.02, and one count of aggravated burglary, a felony of the first degree, in violation of R.C. 2911.11. In a judgment entry filed on May 15, 1980, the Lake County Court of Common Pleas sentenced appellant to an indeterminate term of incarceration of four to twenty-five years on the rape count, and to an indeterminate term of four to twenty-five years on the aggravated burglary count. The sentences were ordered to be served consecutively.
In a judgment entry filed on December 17, 1997, the trial court dismissed proceedings to adjudicate appellant a sexual predator on the basis that recently amended R.C. Chapter 2950, Ohio's version of Megan's Law, is unconstitutional. Appellant, the State of Ohio, timely appealed, asserting that R.C. Chapter 2950 is constitutional.
Based on the precedent established by the majority of this court in State v. Williams (Jan. 29, 1999), Lake App. No. 97-L-191, unreported, although this writer interposed a dissent to the majority's mandate there that R.C. Chapter 2950 was constitutionally void as applied to sexual predators under Section 1, Article I of the Ohio Constitution, it is clear that the decision in the Williams case controls the outcome here. Hence, I defer to the present controlling authority in this appellate district on the issues raised in this appeal.
  Accordingly, the judgment of the trial court is affirmed. _______________________________________ PRESIDING JUDGE DONALD R. FORD
NADER, J.,
O'NEILL, J., concur.